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                           UNITED STATES DISTRICT COURT
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10                       CENTRAL DISTRICT OF CALIFORNIA
11
12   BERTON PHINNEY,                             Case No.: 2:21-CV-02064-JLS-SK

13                Plaintiff,
14         vs.                                    ORDER RE STIPULATION TO
                                                  DISMISS WITH PREJUDICE
15
16   AMCOL SYSTEMS, INC.,
17                Defendant(s).
18
19          ORDER RE STIPULATION TO DISMISS WITH PREJUDICE
20   The Stipulation to Dismiss Plaintiff’s claims with Prejudice is hereby Approved.
21   All parties shall bear their own costs and attorneys’ fees.
22
           IT IS SO ORDERED.
23
           Dated: November 4, 2021
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25                                                JOSEPHINE L. STATON
26
                                                      Josephine L. Staton
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                                                      United States District Judge
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